                                  Case 23-11474-BLS                 Doc 1       Filed 09/18/23           Page 1 of 37


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Capital Emergency Physicians Madison LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  5121 Maryland Way
                                  Suite 300
                                  Brentwood, TN 37027
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Williamson                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://appartners.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                   Case 23-11474-BLS                   Doc 1        Filed 09/18/23            Page 2 of 37
Debtor    Capital Emergency Physicians Madison LLC                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                       Case 23-11474-BLS                      Doc 1      Filed 09/18/23             Page 3 of 37
Debtor    Capital Emergency Physicians Madison LLC                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Schedule 1 Attached                                      Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 23-11474-BLS               Doc 1       Filed 09/18/23          Page 4 of 37
Debtor   Capital Emergency Physicians Madison LLC                                    Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
                                  Case 23-11474-BLS                   Doc 1        Filed 09/18/23             Page 5 of 37
Debtor    Capital Emergency Physicians Madison LLC                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 18, 2023
                                                  MM / DD / YYYY


                             X /s/ John DiDonato                                                          John DiDonato
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Laura Davis Jones                                                       Date September 18, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Laura Davis Jones
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 919 North Market Street
                                 17th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-652-4100                  Email address      ljones@pszjlaw.com

                                 2436 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                       Case 23-11474-BLS        Doc 1     Filed 09/18/23     Page 6 of 37




                                        Rider 1 to Voluntary Petition

      On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
      11 case (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
      title 11 of the United States Code.

1.    AMERICAN PHYSICIAN PARTNERS, LLC                          39.    APP OF MICHIGAN ED, PLLC
2.    AMERICAN PHYSICIAN HOLDINGS, LLC                          40.    APP OF ALABAMA HM, LLC
3.    ALIGN, M.D., PLLC                                         41.    APP OF KANSAS ED, PLLC
4.    APP OF ALABAMA ED, LLC                                    42.    NETEP, PLLC
5.    APP OF ARKANSAS ED, PLLC                                  43.    KALAMAZOO EMERGENCY ASSOCIATES, PLC
6.    APP OF ARKANSAS HM, PLLC                                  44.    APP OF INDIANA ED, PLLC
7.    APP OF OHIO ED, PLLC                                      45.    APP OF INDIANA HM, PLLC
8.    APP OF ILLINOIS ED, PLLC                                  46.    APP OF SOUTHERN NEW MEXICO ED, PLLC
9.    APP OF ILLINOIS HM, PLLC                                  47.    APP OF SOUTHERN NEW MEXICO HM, PLLC
10.   APP OF KENTUCKY ED, PLLC                                  48.    APP OF KENTUCKY HM, PLLC
11.   APP MDPARTNERS, PLLC                                      49.    APP OF KANSAS HM, PLLC
12.   APP MDPARTNERS OF GA, LLC                                 50.    APP OF WESTERN KENTUCKY ED, PLLC
13.   APP OF NEW MEXICO ED, PLLC                                51.    APP OF NEVADA ED, PLLC
14.   APP OF NEW MEXICO HM, PLLC                                52.    APP OF EAST TENNESSEE HM, PLLC
15.   APP OF TENNESSEE ED, PLLC                                 53.    APP OF EAST TENNESSEE ED, PLLC
16.   APP OF TENNESSEE HM, PLLC                                 54.    APP TEXAS, PLLC
17.   APP OF WEST VIRGINIA ED, PLLC                             55.    APPTEXASED, PLLC
18.   APP OF WEST VIRGINIA HM, PLLC                             56.    EMERGIGROUP PHYSICIAN ASSOCIATES,
19.   CALEB CREEK EMERGENCY PHYSICIANS, PLLC                           PLLC
20.   COOSA RIVER EMERGENCY PHYSICIANS, PLLC                    57.    KIRBY EMERGENCY PHYSICIANS, P.L.L.C.
21.   DEGARA APP, PLLC                                          58.    SAN JACINTO EMERGENCY PHYSICIANS,
22.   DEGARA, P.L.L.C.                                                 PLLC
23.   DEGARA GARDEN CITY, PLLC                                  59.    WEST HOUSTON EMERGENCY PHYSICIANS,
24.   DEGARA GARDEN CITY APP, PLLC                                     P.L.L.C.
25.   DEGARA APP HM, PLLC                                       60.    WOODLANDS EMERGENCY PHYSICIANS,
26.   ELITE EMERGENCY HOT SPRINGS, PLLC                                PLLC
27.   ELITE EMERGENCY MANAGEMENT, PLLC                          61.    APP OF NORTH CAROLINA ED, PLLC
28.   ELITE EMERGENCY RUSSELLVILLE, PLLC                        62.    APP OF NORTH CAROLINA HM, PLLC
29.   ELITE EMERGENCY SERVICES OF KENTUCKY, PLLC                63.    AMERICAN PHYSICIANS PARTNERS PSO, LLC
30.   ELITE EMERGENCY SVC OF TN, PLLC                           64.    APP MANAGEMENT CO., LLC
31.   ELITE EMERGENCY SVC OF KY, PLLC                           65.    APPROVIDERS, LLC
32.   LITTLE RIVER EMERGENCY PHYSICIANS, PLLC                   66.    APP OF MISSISSIPPI ED LLC
33.   ST. ANDREWS BAY EMERGENCY PHYSICIANS, PLLC                67.    APP OF FLORIDA ED, LLC
34.   STONEY BROOK EMERGENCY PHYSICIANS, PLLC                   68.    APP OF FLORIDA HM, LLC
35.   APP OF OHIO HM, PLLC                                      69.    APP OF ARIZONA ED, LLC
36.   APP OF SOUTH CAROLINA ED, PLLC                            70.    APP OF GEORGIA ED, LLC
37.   APP OF SOUTH CAROLINA HM, PLLC                            71.    APP OF ARIZONA HM, LLC
38.   APPTEXASHM, PLLC                                          72.    APP OF MISSISSIPPI HM, LLC


      DOCS_DE:243503.1 03370/001
                         Case 23-11474-BLS   Doc 1   Filed 09/18/23   Page 7 of 37




73.  APP OF CENTRAL FLORIDA ED, LLC
74.  APP OF SOUTHERN ARIZONA ED, LLC
75.  APP OF SOUTHERN ARIZONA HM, LLC
76.  NORTHEAST TENNESSEE EMERGENCY PHYSICIANS,
     INC.
77. APP EMERGENCY ED TX, INC.
78. PROGRESSIVE MEDICAL ASSOCIATES, LLC
79. TRUEPARTNERS EMERGENCY PHYSICIANS LLC
80. EMERGENCY SPECIALISTS OF WELLINGTON, LLC
81. TRUEPARTNERS WESTLAKE EMERGENCY
     SPECIALISTS LCC
82. TRUEPARTNERS RANCH EMERGENCY SPECIALISTS
     LCC
83. TRUEPARTNERS MANATEE EMERGENCY
     SPECIALISTS LCC
84. TRUEPARTNERS LAKEWOOD INPATIENT
     SPECIALISTS LCC
85. TRUEPARTNERS COMANCHE EMERGENCY
     SPECIALISTS LCC
86. APP AZ ED MEMBER 1, LLC
87. APP AZ ED MEMBER 2, LLC
88. APP AZ ED MEMBER 3, LLC
89. APP AZ ED MEMBER 4, LLC
90. APP AZ ED MEMBER 5, LLC
91. APP AZ ED MEMBER 6, LLC
92. CAPITAL EMERGENCY PHYSICIANS LLC
93. CAPITAL EMERGENCY PHYSICIANS MADISON LLC
94. LONGVIEW EMERGENCY MEDICINE ASSOCIATES,
     P.L.L.C., D/B/A LEADING EDGE MEDICAL
     ASSOCIATES, P.L.L.C.
95. ACUTE CARE SPECIALIST, LLC
96. TOWN SQUARE EMERGENCY ASSOCIATES, PLLC
97. TRUEPARTNERS NORTHWEST EMERGENCY
     ASSOCIATES, PLLC
98. TEP SELECT EMERGENCY SPECIALISTS PLLC
99. TEXOMA EMERGENCY PHYSICIANS, PLLC
100. APP ICU, PLLC




DOCS_DE:243503.1 03370/001
                                                     2
               Case 23-11474-BLS         Doc 1     Filed 09/18/23     Page 8 of 37




                        ACTION TAKEN ON WRITTEN CONSENT
                          OF THE BOARD OF MANAGERS OF
                        AMERICAN PHYSICIAN PARTNERS, LLC


                                Effective as of September 18, 2023

        Pursuant to the provisions of applicable law, the undersigned Board of Managers of
American Physician Partners, LLC, a Delaware limited liability company (“APP”), consisting of
James Decker and Jay Martus, each appointed pursuant to Section 5.3 of the Fifth Amended and
Restated Limited Liability Company Agreement dated as of March 2, 2023, as amended by that
certain Written Consent of the Members dated as of May 10, 2023, (the “Board”) does hereby take
the following actions and adopt the following resolutions by written consent, in lieu of a special
meeting of the Board, as of the date hereof, and hereby direct that this Omnibus Written Consent
be filed with the minutes and the proceedings of APP.

       WHEREAS, the Board has reviewed the historical performance of APP and its
subsidiaries and the current and long-term liabilities of APP and its subsidiaries;

     WHEREAS, the Companies’ working capital has dissipated to the point where the
Companies will be unable to continue operations;

       WHEREAS, the Companies contacted potential acquirers to discuss potential acquisitions
of some or all of the Companies and some or all of the assets of the Companies without success;

        WHEREAS, the Companies contacted qualified investors, including existing investors
and creditors of the Companies, seeking commitment for an equity investment or the provision of
further financing without success;

        WHEREAS, the Companies contacted potential replacement financing parties to discuss
potential financings to provide incremental capital to the business replacing its existing lenders
without success;

        WHEREAS, the Companies proceeded to embark on a transition of emergency room and
hospital services to alternative service providers and its health system/hospital partners avoiding
any interruption in those services and were successful in that complete transition and as of August
1, 2023 were no longer providing any such services;

      WHEREAS, since August 1, 2023, the Companies have been conducting an orderly
winddown of their remaining businesses;

        WHEREAS, the Board has reviewed the materials presented by the management of and
the advisors to APP regarding alternatives available to complete the winddown of the Companies
in the most efficient and value maximizing manner;

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of APP, its creditors, employees, stockholders and other
stakeholders that a petition be filed by APP and each of its subsidiaries and/or affiliated companies
               Case 23-11474-BLS         Doc 1     Filed 09/18/23     Page 9 of 37




under the management of APP set forth on Schedule 1 attached hereto (collectively with APP, the
“Companies”) seeking relief under the provisions of chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”);

       RESOLVED, that the following persons, John C. DiDonato, James Nugent, and Andrew
McQueen, each in his capacity as an officer or authorized signatory of each Company (each, an
“Authorized Officer”) be, and each of them hereby is, authorized, empowered and directed on
behalf of the Companies to execute, verify and file all petitions, schedules, lists, and other papers
or documents, and to take and perform any and all further actions and steps that any such
Authorized Officer deems necessary, desirable and proper in connection with the Companies’
chapter 11 case, with a view to the successful prosecution of such case;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered and directed on behalf of the Companies to retain the law firm of Pachulski Stang
Ziehl & Jones LLP (“PSZ&J”) as bankruptcy counsel to represent and assist the Companies in
carrying out its and their duties under chapter 11 of the Bankruptcy Code, and to take any and all
actions to advance the Companies’ rights in connection therewith, and the Authorized Officers be,
and each of them hereby is, authorized, empowered and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of PSZ&J;

        RESOLVED, that the Authorized Officers, on behalf of each Company, are authorized,
empowered and directed to continue the engagement of the law firm of Bass, Berry & Sims PLC
(“BBS”) as continuing corporate and regulatory counsel as well as limited co-bankruptcy counsel
to represent and assist the Companies in carrying out their duties under chapter 11 of the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights in connection
therewith, and the Authorized Officers are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
bankruptcy, and to cause to be filed an appropriate application for authority to retain the services
of BBS;

        RESOLVED, that Andrew McQueen is authorized, empowered and directed on behalf of
each Company to retain the services of Huron Consulting Group (“Huron”) as its Chief
Restructuring Officer (“CRO”), Interim Chief Executive Officer and Deputy CRO, and other
members of the CRO team, and in connection therewith, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of Novo;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered and directed on behalf of the Companies to employ any other professionals necessary
to assist the Companies in carrying out their duties under the Bankruptcy Code and, in connection
therewith, to execute appropriate retention agreements, pay appropriate retainers prior to or
immediately upon the filing of the chapter 11 case and cause to be filed appropriate applications
with the bankruptcy court for authority to retain the services of any other professionals, as
necessary, and on such terms as are deemed necessary, desirable and proper;
               Case 23-11474-BLS          Doc 1     Filed 09/18/23      Page 10 of 37




       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered and directed on behalf of the Companies to obtain post-petition financing according
to terms which may be negotiated by the management of the Companies, including under debtor-
in-possession credit facilities or the use of cash collateral; and to enter into any guaranties and to
pledge and grant liens on its assets as may be contemplated by or required under the terms of such
post-petition financing or cash collateral agreement and, in connection therewith, to execute
appropriate loan agreements, cash collateral agreements and related ancillary documents;

        RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
each Company that each Company sell any remaining assets and, therefore, each Company is
hereby authorized to enter into an asset purchase agreement to effectuate such sale(s) on such terms
that the Authorized Officers of the Companies determine will maximize value, and each Company
is further authorized to file a motion to approve such sale(s) and for any related relief, or to approve
a sale or sales to a higher and better bidder, and to close such sale(s), subject to bankruptcy court
approval in such Company’s chapter 11 proceedings;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered and directed on behalf of the Companies to take any and all actions, to execute, deliver,
certify, file and/or record and perform any and all documents, agreements, instruments, motions,
affidavits, applications for approvals or rulings of governmental or regulatory authorities or
certificates and to take any and all actions and steps deemed by any such Authorized Officer to be
necessary or desirable to carry out the purpose and intent of each of the foregoing resolutions and
to effectuate a successful chapter 11 case, including, but not limited to the development, filing and
prosecution to confirmation of a chapter 11 plan and related disclosure statement;

         RESOLVED, that this consent and signature pages hereto may be executed and delivered
by electronic means (including, without limitation, electronic image, facsimile, DocuSign, ".pdf",
".tif" and ".jpeg"), and thereupon shall be treated in each case and in all manner and respects and
for all purposes as an original and shall be considered to have the same binding legal effect as if it
were an original manually-signed counterpart hereof delivered in person;

        RESOLVED, that this consent may be executed in multiple counterparts or copies, each
of which shall be deemed an original for all purposes. One or more counterparts or copies of this
consent, or signature pages hereto, may be executed by one or more of the undersigned, and some
different counterparts, copies or signature pages executed by one or more of the other undersigned.
Each counterpart or copy hereof so executed by any of the undersigned shall be binding upon the
undersigned executing same even though any other undersigned may execute one or more different
counterparts, copies or signature pages, and all counterparts or copies hereof (including any such
signature pages) so executed shall constitute one and the same consent. Each of the undersigned,
by execution of one or more counterparts or copies hereof or signature pages hereto, expressly
authorizes and directs the secretary or any assistant secretary of APP, or counsel to APP, to affix
the signature pages executed by the authorizing undersigned to one or more other counterparts or
copies hereof so that upon execution of multiple counterparts or copies hereof or signature pages
hereto by all of the undersigned, there shall be one or more counterparts or copies hereof to which
is attached signature pages containing signatures of all of the undersigned;
              Case 23-11474-BLS         Doc 1     Filed 09/18/23     Page 11 of 37




       RESOLVED, that any and all actions heretofore taken by any Authorized Officer of the
Companies in the name and on behalf of any Company in furtherance of the purpose and intent of
any or all of the foregoing resolutions be, and hereby are, ratified, confirmed, and approved in all
respects.
SimplyAgree Sign signature packet ID: 0fe01376-c2fd-44a9-9cda-d5e1d165bd91
                          Case 23-11474-BLS        Doc 1    Filed 09/18/23   Page 12 of 37



                   IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
           set forth above on behalf of APP.

                                                        BOARD:



                                                        JAMES DECKER



                                                        JAY MARTUS
SimplyAgree Sign signature packet ID: 6aaee11d-a3cd-450b-93f0-740119e36250
                          Case 23-11474-BLS        Doc 1    Filed 09/18/23   Page 13 of 37



                   IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
           set forth above on behalf of APP.

                                                        BOARD:



                                                        JAMES DECKER



                                                        JAY MARTUS
         Case 23-11474-BLS   Doc 1   Filed 09/18/23   Page 14 of 37




                                 Schedule 1


Alabama
APP OF ALABAMA ED, LLC

Arizona
APP AZ ED MEMBER 1, LLC
APP AZ ED MEMBER 2, LLC
APP AZ ED MEMBER 3, INC.
APP AZ ED MEMBER 4, INC.
APP AZ ED MEMBER 5, INC.
APP AZ ED MEMBER 6, INC.
PROGRESSIVE MEDICAL ASSOCIATES, LLC

Delaware
AMERICAN PHYSICIAN HOLDINGS, LLC
APP MANAGEMENT CO., LLC

Florida
APPROVIDERS, LLC
EMERGENCY SPECIALIST OF WELLINGTON, LLC
TRUE PARTNERS EMERGENCY PHYSICIANS, LLC
TRUEPARTNERS LAKEWOOD INPATIENT SPECIALISTS LLC
TRUEPARTNERS MANATEE EMERGENCY SPECIALISTS LLC
TRUEPARTNERS RANCH EMERGENCY SPECIALISTS LLC
TRUEPARTNERS WESTLAKE EMERGENCY SPECIALISTS LLC

Georgia
APP MDPARTNERS OF GA, LLC

Kentucky
ELITE EMERGENCY SERVICES OF KENTUCKY, PLLC
ELITE EMERGENCY SVC OF KY, PLLC

Michigan
DEGARA, P.L.L.C.
DEGARA GARDEN CITY, PLLC
KALAMAZOO EMERGENCY ASSOCIATES, PLC

Mississippi
CAPITAL EMERGENCY PHYSICIANS LLC
CAPITAL EMERGENCY PHYSICIANS MADISON LLC
         Case 23-11474-BLS   Doc 1   Filed 09/18/23   Page 15 of 37




Oklahoma
TRUEPARTNERS COMANCHE EMERGENCY SPECIALISTS, LLC

Tennessee
ALIGN, M.D., PLLC
APP MDPARTNERS, PLLC
APP OF ALABAMA HM, LLC
APP OF ARKANSAS ED, PLLC
APP OF ARKANSAS HM, PLLC
APP ICU, PLLC
APP OF EAST TENNESSEE ED, PLLC
APP OF EAST TENNESSEE HM, PLLC
APP OF ILLINOIS HM, PLLC
APP OF ILLINOIS ED, PLLC
APP OF INDIANA ED, PLLC
APP OF INDIANA HM, PLLC
APP OF KANSAS ED, PLLC
APP OF KANSAS HM, PLLC
APP OF KENTUCKY ED, PLLC
APP OF KENTUCKY HM, PLLC
APP OF MICHIGAN ED, PLLC
APP OF NEVADA ED, PLLC
APP OF NEW MEXICO ED, PLLC
APP OF NEW MEXICO HM, PLLC
APP OF NORTH CAROLINA ED, PLLC
APP OF NORTH CAROLINA HM, PLLC
APP OF OHIO ED, PLLC
APP OF OHIO HM, PLLC
APP OF SOUTH CAROLINA ED, PLLC
APP OF SOUTH CAROLINA HM, PLLC
APP OF SOUTHERN NEW MEXICO ED, PLLC
APP OF SOUTHERN NEW MEXICO HM, PLLC
APP OF TENNESSEE ED, PLLC
APP OF TENNESSEE HM, PLLC
APP OF WESTERN KENTUCKY ED, PLLC
APP OF WEST VIRGINIA ED, PLLC
APP OF WEST VIRGINIA HM, PLLC
APPTEXASED, PLLC
APPTEXASHM, PLLC
CALEB CREEK EMERGENCY PHYSICIANS, PLLC
COOSA RIVER EMERGENCY PHYSICIANS, PLLC
DEGARA APP, PLLC
DEGARA APP HM, PLLC
DEGARA GARDEN CITY APP, PLLC
ELITE EMERGENCY HOT SPRINGS, PLLC
ELITE EMERGENCY MANAGEMENT, PLLC
          Case 23-11474-BLS   Doc 1   Filed 09/18/23   Page 16 of 37




ELITE EMERGENCY RUSSELLVILLE, PLLC
ELITE EMERGENCY SVC OF TN, PLLC
LITTLE RIVER EMERGENCY PHYSICIANS, PLLC
NETEP, PLLC
ST. ANDREWS BAY EMERGENCY PHYSICIANS, PLLC
STONEY BROOK EMERGENCY PHYSICIANS, PLLC
APP OF ARIZONA ED, LLC
APP OF ARIZONA HM, LLC
APP OF CENTRAL FLORIDA ED, LLC
APP OF FLORIDA ED, LLC
APP OF FLORIDA HM, LLC
APP OF GEORGIA ED, LLC
APP OF MISSISSIPPI ED, LLC
APP OF MISSISSIPPI HM, LLC
APP OF SOUTHERN ARIZONA ED, LLC
APP OF SOUTHERN ARIZONA HM, LLC
NORTHEAST TENNESSEE EMERGENCY PHYSICIANS, INC.
AMERICAN PHYSICIAN PARTNERS PSO, LLC

Texas
APP TEXAS, PLLC
LONGVIEW EMERGENCY MEDICINE ASSOCIATES, P.L.L.C., D/B/A LEADING EDGE
MEDICAL ASSOCIATES
ACUTE CARE SPECIALIST, LLC
EMERGIGROUP PHYSICIAN ASSOCIATES, PLLC
KIRBY EMERGENCY PHYSICIANS, P.L.L.C.
SAN JACINTO EMERGENCY PHYSICIANS, PLLC
WEST HOUSTON EMERGENCY PHYSICIANS, P.L.L.C.
WOODLANDS EMERGENCY PHYSICIANS, PLLC
TRUEPARTNERS NORTHWEST EMERGENCY ASSOCIATES, PLLC
TEP SELECT EMERGENCY SPECIALISTS, PLLC
TOWN SQUARE EMERGENCY ASSOCIATES, PLLC
TEXOMA EMERGENCY PHYSICIANS, PLLC
APP EMERGENCY ED TX, INC.
               Case 23-11474-BLS        Doc 1     Filed 09/18/23     Page 17 of 37




                      OMNIBUS WRITTEN CONSENT
       OF THE SUBSIDIARIES OF AMERICAN PHYSICIAN PARTNERS, LLC

                               Effective as of September 18, 2023


       Pursuant to the provisions of applicable law, the undersigned:

       (i)     American Physician Partners, LLC, a Delaware limited liability company ("APP"),
               being the sole member (in such capacity, "APP Sole Member") of each of the
               companies listed on Schedule 1 hereto ("Schedule 1 Entities");

       (ii)    American Physician Holdings, LLC, being (a) the sole member (in such capacity,
               "APH Sole Member") of each of the companies listed on Schedule 2 hereto
               ("Schedule 2 Entities") and (b) the sole shareholder (in such capacity, "APH Sole
               Shareholder") of each of the companies listed on Schedule 3 hereto ("Schedule 3
               Entities");

       (iii)   APP of Arizona ED, LLC, being (a) the sole member (in such capacity, "AZ Sole
               Member") of each of the companies listed on Schedule 4 hereto ("Schedule 4
               Entities"), and (b) being the sole shareholder (in such capacity, "AZ Sole
               Shareholder") of each of the companies listed on Schedule 5 hereto ("Schedule 5
               Entities");

       (iv)    Each of (a) APP of Arizona ED, LLC, (b) APP AZ ED Member 1, LLC, (c) APP
               AZ ED Member 2, LLC, (d) APP AZ ED Member 3, Inc., (e) APP AZ ED Member
               4, Inc., (f) APP AZ ED Member 5, Inc., and (g) APP AZ ED Member 6, Inc.,
               (collectively, the "PMA Members") constituting all of the members of Progressive
               Medical Associates, LLC, an Arizona limited liability company ("PMA"); and

       (v)     APP of Mississippi ED, LLC, being the sole member (in such capacity, "MS Sole
               Member"; and together with APP Manager, APP Sole Member, APH Sole Member,
               APH Sole Shareholder, AZ Sole Member, AZ Sole Shareholder and the PMA
               Members, each a “Governing Body” and collectively, the "Governing Bodies") of
               each of the companies listed on Schedule 6 hereto ("Schedule 6 Entities"; and
               together with APP, the Schedule 1 Entities, the Schedule 2 Entities, the Schedule 3
               Entities, the Schedule 4 Entities, the Schedule 5 Entities and PMA, collectively, the
               "Companies" and each a "Company"),

hereby take the following actions and adopt the following resolutions by written consent, in lieu
of a special meeting of the Governing Bodies, as of the date hereof, and hereby direct that this
Omnibus Written Consent be filed with the minutes and the proceedings of each Company.

        WHEREAS, the Governing Bodies have reviewed the historical performance and the
current and long-term liabilities of each Company;

     WHEREAS, the Companies’ working capital has dissipated to the point where the
Companies will be unable to continue operations;
              Case 23-11474-BLS         Doc 1     Filed 09/18/23     Page 18 of 37




       WHEREAS, the Companies contacted potential acquirers to discuss potential acquisitions
of some or all of the Companies and some or all of the assets of the Companies without success;

        WHEREAS, the Companies contacted qualified investors, including existing investors
and creditors of the Companies, seeking commitment for an equity investment or the provision of
further financing without success;

        WHEREAS, the Companies contacted potential replacement financing parties to discuss
potential financings to provide incremental capital to the business replacing its existing lenders
without success;

        WHEREAS, the Companies proceeded to embark on a transition of emergency room and
hospital services to alternative service providers and its health system/hospital partners avoiding
any interruption in those services and were successful in that complete transition and as of August
1, 2023 were no longer providing any such services;

      WHEREAS, since August 1, 2023, the Companies have been conducting an orderly
winddown of their remaining businesses;

      WHEREAS, the Governing Bodies have reviewed the materials presented by the
management of and the advisors to each Company regarding alternatives available to complete the
winddown of the Companies in the most efficient and value maximizing manner;

       NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Governing
Bodies, it is desirable and in the best interests of each Company, its creditors, employees,
stockholders and other stakeholders, that a petition be filed by each Company seeking relief under
the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

       RESOLVED, that the following persons, John C. DiDonato, James Nugent, and Andrew
McQueen, each in his capacity as an officer or authorized signatory of each Company or an officer
of the applicable Governing Body thereof, (each, an “Authorized Officer”, and collectively,
“Authorized Officers”) be, and each of them hereby is, authorized, empowered and directed on
behalf of each Company to execute, verify and file all petitions, schedules, lists, and other papers
or documents, and to take and perform any and all further actions and steps that any such
Authorized Officer deems necessary, desirable and proper in connection with the chapter 11 case
of such Company, with a view to the successful prosecution of such cases;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered and directed on behalf of each Company to retain the law firm of Pachulski Stang
Ziehl & Jones LLP (“PSZ&J”) as bankruptcy counsel to represent and assist each Company in
carrying out its duties under chapter 11 of the Bankruptcy Code, and to take any and all actions to
advance each Company’s rights in connection therewith, and to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of PSZ&J;
               Case 23-11474-BLS         Doc 1     Filed 09/18/23      Page 19 of 37




        RESOLVED, that the Authorized Officers, on behalf of each Company, are authorized,
empowered and directed to continue the engagement of the law firm of Bass, Berry & Sims PLC
(“BBS”) as continuing corporate and regulatory counsel as well as limited co-bankruptcy counsel
to represent and assist the Companies in carrying out their duties under chapter 11 of the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights in connection
therewith, and the Authorized Officers are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
bankruptcy, and to cause to be filed an appropriate application for authority to retain the services
of BBS;

        RESOLVED, that Andrew McQueen is authorized, empowered and directed on behalf of
each Company to retain the services of Huron Consulting Group (“Huron”) as its Chief
Restructuring Officer “(CRO”), Interim Chief Executive Officer and Deputy CRO, and other
members of the CRO team, and in connection therewith, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of Novo;

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered and directed on behalf of each Company to employ any other professionals necessary
to assist each Company in carrying out its duties under the Bankruptcy Code and, in connection
therewith, to execute appropriate retention agreements, pay appropriate retainers prior to or
immediately upon the filing of the chapter 11 cases and cause to be filed appropriate applications
with the bankruptcy court for authority to retain the services of any other professionals, as
necessary, and on such terms as are deemed necessary, desirable and proper;

       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered and directed on behalf of the Companies to obtain post-petition financing according
to terms which may be negotiated by the management of each Company, including under debtor-
in-possession credit facilities or the use of cash collateral, and to enter into any guaranties and to
pledge and grant liens on its assets as may be contemplated by or required under the terms of such
post-petition financing or cash collateral agreement and, in connection therewith, to execute
appropriate loan agreements, cash collateral agreements and related ancillary documents;

         RESOLVED, that in the judgment of the Governing Bodies, it is desirable and in the best
interests of each Company that each Company sell any remaining assets and, therefore, each
Company is hereby authorized to enter into an asset purchase agreement to effectuate such sale(s)
on such terms that the Authorized Officers of the Companies determine will maximize value, and
each Company is further authorized to file a motion to approve such sale(s) and for any related
relief, or to approve a sale or sales to a higher and better bidder, and to close such sale(s), subject
to bankruptcy court approval in such Company’s chapter 11 proceedings;

         RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized,
empowered and directed on behalf of the Companies to take any and all actions, to execute, deliver,
certify, file, and/or record and perform any and all documents, agreements, instruments, motions,
affidavits, applications for approvals or rulings of governmental or regulatory authorities or
certificates and to take any and all actions and steps deemed by any such Authorized Officer to be
              Case 23-11474-BLS          Doc 1     Filed 09/18/23     Page 20 of 37




necessary or desirable to carry out the purpose and intent of each of the foregoing resolutions and
to effectuate successful chapter 11 cases, including, but not limited to the development, filing and
prosecution to confirmation of a chapter 11 plan and related disclosure statement;

         RESOLVED, that this consent and signature pages hereto may be executed and delivered
by electronic means (including, without limitation, electronic image, facsimile, DocuSign, ".pdf",
".tif" and ".jpeg"), and thereupon shall be treated in each case and in all manner and respects and
for all purposes as an original and shall be considered to have the same binding legal effect as if it
were an original manually-signed counterpart hereof delivered in person;

        RESOLVED, that this consent may be executed in multiple counterparts or copies, each
of which shall be deemed an original for all purposes. One or more counterparts or copies of this
consent, or signature pages hereto, may be executed by one or more of the undersigned, and some
different counterparts, copies or signature pages executed by one or more of the other undersigned.
Each counterpart or copy hereof so executed by any of the undersigned shall be binding upon the
undersigned executing same even though any other undersigned may execute one or more different
counterparts, copies or signature pages, and all counterparts or copies hereof (including any such
signature pages) so executed shall constitute one and the same consent. Each of the undersigned,
by execution of one or more counterparts or copies hereof or signature pages hereto, expressly
authorizes and directs the secretary or any assistant secretary of such Company, or counsel to such
Company, to affix the signature pages executed by the authorizing undersigned to one or more
other counterparts or copies hereof so that upon execution of multiple counterparts or copies hereof
or signature pages hereto by all of the undersigned, there shall be one or more counterparts or
copies hereof to which is attached signature pages containing signatures of all of the undersigned;

       RESOLVED, that any and all actions heretofore taken by any Authorized Officer in the
name or on behalf of any Company in furtherance of the purpose and intent of any or all of the
foregoing resolutions be, and hereby are, ratified, confirmed, and approved in all respects.
SimplyAgree Sign signature packet ID: 7cd91c4f-4fc7-4c22-b1c4-9c978ee03454
                          Case 23-11474-BLS        Doc 1      Filed 09/18/23      Page 21 of 37




                   IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
           set forth above on behalf of each Company.


                                                         AMERICAN PHYSICIAN PARTNERS, LLC,
                                                         as the sole member of each of the Schedule 1
                                                         Entities


                                                         By:
                                                         Name: Andrew McQueen
                                                         Title: Senior Vice President, Chief Development
                                                                Officer & Secretary



                                                         AMERICAN PHYSICIAN HOLDINGS, LLC,
                                                         as the sole member of each of the Schedule 2
                                                         Entities and the sole shareholder of each of the
                                                         Schedule 3 Entities


                                                         By:
                                                         Name: Andrew McQueen
                                                         Title: Senior Vice President, Chief Development
                                                                Officer & Secretary


                                                         APP OF ARIZONA ED, LLC, as the sole member
                                                         of each of the Schedule 4 Entities and the sole
                                                         shareholder of each of the Schedule 5 Entities


                                                         By:
                                                         Name: Andrew McQueen
                                                         Title: Senior Vice President, Chief Development
                                                                Officer & Secretary


                                                         APP OF MISSISSIPPI ED, LLC, as the sole
                                                         member of each of the Schedule 6 Entities


                                                         By:
                                                         Name: Andrew McQueen
                                                         Title: Senior Vice President, Chief Development
                                                                Officer & Secretary


                                             [APP and Subsidiaries Resolutions]
SimplyAgree Sign signature packet ID: 7cd91c4f-4fc7-4c22-b1c4-9c978ee03454
                          Case 23-11474-BLS        Doc 1      Filed 09/18/23      Page 22 of 37




                                                         PMA MEMBERS:

                                                         APP OF ARIZONA ED, LLC


                                                         By:
                                                         Name: Andrew McQueen
                                                         Title: Senior Vice President, Chief Development
                                                                Officer & Secretary


                                                         APP AZ ED MEMBER 1, LLC
                                                         APP AZ ED MEMBER 2, LLC
                                                         APP AZ ED MEMBER 3, INC.
                                                         APP AZ ED MEMBER 4, INC.
                                                         APP AZ ED MEMBER 5, INC.
                                                         APP AZ ED MEMBER 6, INC.


                                                         By:
                                                         Name: Andrew McQueen
                                                         Title: Secretary




                                             [APP and Subsidiaries Resolutions]
         Case 23-11474-BLS        Doc 1      Filed 09/18/23      Page 23 of 37




                                      Schedule 1

1. American Physician Partners PSO, LLC, a Tennessee limited liability company
2. American Physician Holdings, LLC, a Delaware limited liability company




                            [APP and Subsidiaries Resolutions]
             Case 23-11474-BLS        Doc 1      Filed 09/18/23      Page 24 of 37




                                          Schedule 2

Tennessee
   1. APP of Arizona ED, LLC, a Tennessee limited liability company
   2. APP of Arizona HM, LLC, a Tennessee limited liability company
   3. APP of Central Florida ED, LLC, a Tennessee limited liability company
   4. APP of Florida ED, LLC, a Tennessee limited liability company
   5. APP of Florida HM, LLC, a Tennessee limited liability company
   6. APP of Georgia ED, LLC, a Tennessee limited liability company
   7. APP of Mississippi ED, LLC, a Tennessee limited liability company
   8. APP of Mississippi HM, LLC, a Tennessee limited liability company
   9. APP of Southern Arizona ED, LLC, a Tennessee limited liability company
   10. APP of Southern Arizona HM, LLC, a Tennessee limited liability company

Delaware
   11. APP Management Co., LLC, a Delaware limited liability company

Florida
   12. APProviders, LLC, a Florida limited liability company
   13. Emergency Specialists of Wellington, LLC, a Florida limited liability company
   14. True Partners Emergency Physicians, LLC, a Florida limited liability company
   15. TruePartners Lakewood Inpatient Specialists LLC, a Florida limited liability company
   16. TruePartners Manatee Emergency Specialists LLC, a Florida limited liability company
   17. TruePartners Ranch Emergency Specialists LLC, a Florida limited liability company
   18. TruePartners Westlake Emergency Specialists LLC, a Florida limited liability

Oklahoma
   19. TruePartners Comanche Emergency Specialists, LLC, an Oklahoma limited liability
       company




                                [APP and Subsidiaries Resolutions]
         Case 23-11474-BLS        Doc 1      Filed 09/18/23      Page 25 of 37



                                      Schedule 3

1. APP Emergency ED TX, Inc., a Texas non-profit corporation
2. Northeast Tennessee Emergency Physicians, Inc., a Tennessee corporation




                            [APP and Subsidiaries Resolutions]
         Case 23-11474-BLS      Doc 1      Filed 09/18/23      Page 26 of 37




                                    Schedule 4

1. APP AZ ED Member 1, LLC, an Arizona limited liability company
2. APP AZ ED Member 2, LLC, an Arizona limited liability company




                          [APP and Subsidiaries Resolutions]
           Case 23-11474-BLS      Doc 1      Filed 09/18/23      Page 27 of 37




                                      Schedule 5

1.   APP AZ ED Member 3, Inc., an Arizona corporation
2.   APP AZ ED Member 4, Inc., an Arizona corporation
3.   APP AZ ED Member 5, Inc., an Arizona corporation
4.   APP AZ ED Member 6, Inc., an Arizona corporation




                            [APP and Subsidiaries Resolutions]
             Case 23-11474-BLS        Doc 1    Filed 09/18/23    Page 28 of 37




                                         Schedule 6

    1. Capital Emergency Physicians LLC, a Mississippi limited liability company
    2. Capital Emergency Physicians Madison LLC, a Mississippi limited liability company

35873961.5




                                 [Managed Omnibus Resolutions]
                                       Case 23-11474-BLS                     Doc 1     Filed 09/18/23              Page 29 of 37

     Fill in this information to identify the case:

     Debtor name    American Physician Partners, LLC, et al.
     United States Bankruptcy Court for the District of Delaware
                                                                   (State)
                                                                                                                                                   Check if this is an
     Case number (If known):
                                                                                                                                                   amended filing




   Official Form 204
   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
   Unsecured Claims and Are Not Insiders (on a Consolidated Basis)                                                                                               12/15

   A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
   disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
   creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest
   unsecured claims.


  Name of creditor and complete                  Name, telephone number,        Nature of the claim    Indicate if claim Amount of unsecured claim
  mailing address, including zip code            and email address of          (for example, trade     is contingent,    If the claim is fully unsecured, fill in only unsecured
                                                 creditor contact              debts, bank loans,      unliquidated, or claim amount. If claim is partially secured, fill in total
                                                                               professional            disputed          claim amount and deduction for value of collateral or
                                                                               services, and                             setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                          Total claim, if    Deduction for     Unsecured claim
                                                                                                                          partially          value of
                                                                                                                          secured            collateral or
                                                                                                                                             setoff
1. R1 Medical Consultants Inc.               Jackie Willett         Trade Claim                                                                              $23,849,404
   PO Box 735160                             Tel. 682.365.2834
   Dallas, TX 75373‐5160                     Email:
                                             jwillett@r1rcm.com
2. Jefferies                                 Jeffrey Finger         Trade Claim                                                                              2,300,000
   520 Madison Ave.                          Tel: 212‐708‐2733
   6th Floor                                 Email:
   New York, NY 10022                        jfinger@jefferies.com
3. Sapientes Funding II                      Tyler Marsh            Purchase                          Contingent                                             $1,900,000
   830 East Platte Ave                       Tel. 970.370.6507      Agreement                         Unliquidated
   Fort Morgan, CO 80701                     Email:
                                             Tyler.Marsh@wakeassoc.
                                             com
4. Staff Care, Inc.                          Don Robb               Trade Claim                                                                              $1,627,858
   PO BOX 281923                             Tel. 469.417.7502
   Atlanta, GA 30384‐1923                    Email:
                                             don.robb@amnhealthcar
                                             e.com
5. CompHealth / Weatherby                    Angela Brown           Trade Claim                                                                              $1,358,921
   Locums, Inc.                              Tel. 800.328.3021
   PO BOX 972651                             Email:
   Dallas, TX 75397‐2651                     angela.brown@chghealth
                                             care.com




  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 35 Largest Unsecured Claims (on a consolidated basis)                            page 1
  DOCS_DE:243828.2
                                   Case 23-11474-BLS              Doc 1       Filed 09/18/23             Page 30 of 37
    Debtor        American Physician Partners, LLC, et al.                                   Case number (if known)
                  Name




   Name of creditor and complete           Name, telephone number,     Nature of the claim   Indicate if claim Amount of unsecured claim
   mailing address, including zip code     and email address of       (for example, trade    is contingent,    If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,     unliquidated, or claim amount. If claim is partially secured, fill in total
                                                                      professional           disputed          claim amount and deduction for value of collateral or
                                                                      services, and                            setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                                Total claim, if    Deduction for     Unsecured claim
                                                                                                                partially          value of
                                                                                                                secured            collateral or
                                                                                                                                   setoff
6. Willis Towers Watson                  James O’Dell            Trade Claim                                                                       $1,355,216
   29982 Network Place                   Tel: 615‐872‐3000
   Chicago, IL 60673‐1299                Email:
                                         james.odell@wtwco.com
7. Scribe America                        Michael Welch           Trade Claim                                                                       $1,001,477
   PO BOX 417756                         Tel. 786.279.1060
   Boston, MA 02241‐7756                 Email:
                                         Michael.welch@scribeam
                                         erica.com
8. LocumTenens.com                       Kimberly Lackey         Trade Claim                                                                       $613,230
   PO BOX 405547                         Tel. 678.327.0487
   Atlanta, GA 30384                     Email:
                                         kimberly.lackey@locumte
                                         nens.com
9. Health Carousel LLC                   Shawna Leftwich         Trade Claim                                                                       $574,086
   PO Box 715806                         Tel. 817.852.6696
   Cincinnati, OH 45271‐5806             Email:
                                         shawna.leftwich@healthc
                                         arousel.com
10. Signify Health                       Gregory McLemon         Trade Claim                                                                       $472,000
    4055 Valley View Lane                Tel: 855‐984‐5121
    Suite 700                            Email:
    Dallas, TX 75244                     gmclemon@signifyhealth.
                                         com
11. Brentwood Capital                    L.A. Galyon IV          Trade Claim                                                                       $400,000
    5000 Meridian Blvd.                  Tel: 615‐224‐3830
    Suite 350                            Email:
    Franklin, TN 37067                   LaGalyon@brentwoodcap
                                         ital.com
12. Dennis Deruell                       Dennis Deruell          Severance                                                                         $343,200
    ADDRESS ON FILE                      Tel. 813.966.1077
                                         Email:
                                         deruelle.md@gmail.com
13. AB Staffing Solutions                Jen Loge, Payroll       Trade Claim                                                                       $323,499
    3451 S Mercy Road                    Specialist
    Suite 102                            Tel. 480.237.4673
    Gilbert, AZ 85297                    Email:
                                         jloge@abstaffing.com




  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 35 Largest Unsecured Claims (on a consolidated basis)                  page 2
  DOCS_DE:243828.2
                                   Case 23-11474-BLS              Doc 1       Filed 09/18/23             Page 31 of 37
    Debtor        American Physician Partners, LLC, et al.                                   Case number (if known)
                  Name




   Name of creditor and complete           Name, telephone number,     Nature of the claim   Indicate if claim Amount of unsecured claim
   mailing address, including zip code     and email address of       (for example, trade    is contingent,    If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,     unliquidated, or claim amount. If claim is partially secured, fill in total
                                                                      professional           disputed          claim amount and deduction for value of collateral or
                                                                      services, and                            setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                                Total claim, if    Deduction for     Unsecured claim
                                                                                                                partially          value of
                                                                                                                secured            collateral or
                                                                                                                                   setoff
14. Interim Physicians                   Tim Sarlone               Trade Claim                                                                     $311,563
    PO BOX 679139                        Tel. 314.744.3077
    Dallas, TX 75267                     Email:
                                         tim.sarlone@interimphysi
                                         cians.com
15. QGenda,LLC                           Steve Rzasnicki           Trade Claim                                                                     $254,695
    3280 Peachtree Road NE               Tel. 770.399.9945 x9175
    Suite 1400                           Email:
    Atlanta, GA 30305                    steve.rzasnicki@qgenda.c
                                         om
16. ProScribe                            Samantha Chacon,          Trade Claim                                                                     $251,688
    16414 San Pedro Ave                  Accounts Receivable
    Suite 525                            Tel. 210.240.0558
    San Antonio, TX 78232                Email:
                                         ar@proscribemd.com
17. Franciscan Physicians                Joe Stuteville, Media     Trade Claim                                                                     $238,764
    Network                              Relations Manager
    38005 Eagle Way                      Tel. 317.528.7986
    Chicago, IL 60678‐1800               Email:
                                         Joe.Stuteville@Franciscan
                                         Alliance.org
18. SHI International Corp               Ryan Wahl                 Trade Claim                                                                     $236,795
    PO Box 952121                        Tel. 737.208.7304
    Dallas, TX 75395‐2121                Email:
                                         ryan_wahl@shi.com
19. WMU School of Medicine               Amy Smithchols            Trade Claim                                                                     $223,772
    PO Box 50391                         Tel: 269.337.4400
    Kalamazoo, MI 49005‐0391             Email:
                                         Amy.Smithchols@wmed.e
                                         du
20. Atlas Physicians, LLC                Anthony Ruvo              Trade Claim                                                                     $197,081
    122 Jackson Street                   Tel. 315.975.7591
    Suite 1A                             Email:
    Hoboken, NJ 07030‐6084               a.ruvo@atlasemergencyp
                                         hysicians.com
21. Elevate Healthcare                   Evan Hale                 Trade Claim                                                                     $170,527
    Consultants                          Tel. 972.954.6911
    3811 Turtle Creek Blvd               Email:
    Suite 850                            evan.hale@elevatehcc.co
    Dallas, TX 75219                     m

  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 35 Largest Unsecured Claims (on a consolidated basis)                  page 3
  DOCS_DE:243828.2
                                   Case 23-11474-BLS              Doc 1       Filed 09/18/23             Page 32 of 37
    Debtor        American Physician Partners, LLC, et al.                                   Case number (if known)
                  Name




   Name of creditor and complete           Name, telephone number,     Nature of the claim   Indicate if claim Amount of unsecured claim
   mailing address, including zip code     and email address of       (for example, trade    is contingent,    If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,     unliquidated, or claim amount. If claim is partially secured, fill in total
                                                                      professional           disputed          claim amount and deduction for value of collateral or
                                                                      services, and                            setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                                Total claim, if    Deduction for     Unsecured claim
                                                                                                                partially          value of
                                                                                                                secured            collateral or
                                                                                                                                   setoff
22. BDO Consulting Group, LLC            Baker Smith               Trade Claim                                                                     $149,927
    1180 Peachtree Street                Tel: 404‐979‐7145
    Suite1950                            Email: bsmith@bdo‐
    Atlanta, GA 30309                    ba.com
23. Lexx Healthcare, LLC                 Antonny Agudelo,          Trade Claim                                                                     $138,519
    210 N University Drive               Director of Accounting
    Suite 502                            Tel. 888.440.8111
    Coral Springs, FL 33071              Email:
                                         antonny.agudelo@lexxhe
                                         alth.com
24. UKG Inc.                             Susan Brown, Lead         Trade Claim                                                                     $127,420
    PO Box 930953                        Services Project Manager
    Atlanta, GA 31193‐0953               Tel. 480.262.0450
                                         Email:
                                         susan.e.brown@ukg.com
25. Holland & Knight LLP                 Vinh Duong, Partner       Trade Claim                                                                     $122,663
    511 Union Street                     Tel. 615.850.8936
    Suite 2700                           Email:
    Nashville, TN 37219                  vinh.duong@hklaw.com
26. Waller Lansden Dortch &              Vinh Duong                Trade Claim                                                                     $107,471
    Davis, LLP                           Tel: 615‐244‐6380
    PO BOX 415000                        Email:
    Nashville, TN 37241                  Vinh.Duong@wallerlaw.c
                                         om
27. Marlab Incorporated                  Balram Bhandari           Trade Claim                                                                     $97,831
    23434 North 78th Street              Tel. 480.251.5973
    Scottsdale, AZ 85255                 Email:
                                         balram@gomarlab.com
28. Sumo Medical Staffing                Jeff Parker               Trade Claim                                                                     $96,245
    71 E Wadsworth Park Dr               Tel. 801.251.0502
    Draper, UT 84020                     Email:
                                         jeff.parker@sumostaffing.
                                         com
29. Medici Group PLLC                    Carlos Echevarria         Trade Claim                                                                     $81,313
    11 Overlook Ridge Drive              Tel: 305‐676‐5760
    Suite 426                            Email:
    Revere, MA 02151                     carlechmd@outlook.com




  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 35 Largest Unsecured Claims (on a consolidated basis)                  page 4
  DOCS_DE:243828.2
                                   Case 23-11474-BLS              Doc 1       Filed 09/18/23              Page 33 of 37
    Debtor        American Physician Partners, LLC, et al.                                    Case number (if known)
                  Name




   Name of creditor and complete           Name, telephone number,     Nature of the claim    Indicate if claim Amount of unsecured claim
   mailing address, including zip code     and email address of       (for example, trade     is contingent,    If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,      unliquidated, or claim amount. If claim is partially secured, fill in total
                                                                      professional            disputed          claim amount and deduction for value of collateral or
                                                                      services, and                             setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                                 Total claim, if    Deduction for     Unsecured claim
                                                                                                                 partially          value of
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
30. Mingle Healthcare Solutions          Alyssa Royer, Collections Trade Claim               Disputed                                               $77,616
    8911 S Sandy Parkway                 Specialist
    Suite 200                            Tel. 207.805.2290
    Sandy, UT 84070                      Email:
                                         Alyssa.Royer@MingleHeal
                                         th.com




  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 35 Largest Unsecured Claims (on a consolidated basis)                   page 5
  DOCS_DE:243828.2
                   Case 23-11474-BLS     Doc 1   Filed 09/18/23    Page 34 of 37




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
CAPITAL EMERGENCY PHYSICIANS MADISON                      ) Case No. 23-_____ (___)
LLC,                                                      )
                                                          ) (Joint Administration Requested)
                               Debtor.                    )

                    CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


                Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.


 None [check if applicable]

          Name:             APP of Mississippi, LLC
          Address:          5121 Maryland Way Suite 300
                            Brentwood, TN 37027




DOCS_DE:243569.1
                   Case 23-11474-BLS     Doc 1    Filed 09/18/23    Page 35 of 37




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     ) Chapter 11
                                                           )
CAPITAL EMERGENCY PHYSICIANS MADISON                       ) Case No. 23-_____ (___)
LLC,                                                       )
                                                           ) (Joint Administration Requested)
                               Debtor.                     )

                              LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



              Equity Holder                      Address of Equity Holder            Percentage of
                                                                                     Equity Held
                                           5121 Maryland Way Suite 300
APP of Mississippi, LLC                                                          100%
                                           Brentwood, TN 37027




DOCS_DE:243569.1
                   Case 23-11474-BLS            Doc 1      Filed 09/18/23        Page 36 of 37




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
In re:                                                                ) Chapter 11
                                                                      )
CAPITAL EMERGENCY PHYSICIANS MADISON                                  ) Case No. 23-_____ (___)
LLC,                                                                  )
                                                                      ) (Joint Administration Requested)
                                    Debtor.                           )

                             CERTIFICATION OF CREDITOR MATRIX


         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above captioned debtor and its
affiliated debtors in possession (collectively, the “Debtors”)1 hereby certify that the Creditor
Matrix submitted herewith contains the names and addresses of the Debtors’ creditors. To the
best of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and consistent with the
Debtors’ books and records.

       The information contained herein is based upon a review of the Debtors’ books and
records as of the petition date. However, no comprehensive legal and/or factual investigations
with regard to possible defenses to any claims set forth in the Creditor Matrix have been
completed. Therefore, the listing does not, and should not, be deemed to constitute: (1) a waiver
of any defense to any listed claims; (2) an acknowledgement of the allowability of any listed
claims; and/or (3) a waiver of any other right or legal position of the Debtors.




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
    American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter
    11 Cases is 5121 Maryland Way, Suite 300, Brentwood, TN 37027.

DOCS_DE:243569.1
                              Case 23-11474-BLS                   Doc 1        Filed 09/18/23           Page 37 of 37




Fill in this information to identify the case:

Debtor name         Capital Emergency Physicians Madison LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       List of Equity Holders; Corporate Ownership Statement; and Creditor
                                                                Matrix Verification

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 18, 2023              X /s/ John DiDonato
                                                           Signature of individual signing on behalf of debtor

                                                            John DiDonato
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
